         Case 20-13446-elf       Doc 42Filed 01/21/21 Entered 01/21/21 18:02:21                   Desc Main
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                                 UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF PENNSYLVANIA

In re:
         BRENDA G MARTIN                               Chapter 13


                               Debtor                  Bankruptcy No. 20-13446-ELF


                    CHAPTER 13 STANDING TRUSTEE’S MOTION FOR DISMISSAL

       AND NOW comes, William C. Miller, Esquire, Chapter 13 standing trustee, and requests that the above-
captioned bankruptcy case be dismissed for the following reason(s):

Debtor(s) has/have failed to appear at the meeting of creditors required by 11 U.S.C. Section 341(a).
Debtor(s) has/have failed to provide, not later than 7 days before the date first set for the first meeting of
creditors, a copy of the Federal income tax return required by 11 U.S.C Section 521(e)(2).

        The hearing scheduled by the filing of this motion may be adjourned from time to time without further
notice to interested parties by announcement of such adjournment in Court on the date scheduled for the hearing.

       The standing trustee consents to the entry of a final order or judgment by the Court if it is determined that
the Court, absent consent of the parties, cannot enter a final order or judgment consistent with Article III of the
United States Constitution.


        WHEREFORE, William C. Miller, Esquire, Chapter 13 standing trustee, respectfully requests that
Court, after a hearing, enter an Order in the form annexed hereto, dismissing this bankruptcy case.


                                                               Respectfully submitted,

                                                               /s/ William C. Miller
                                                               ______________________
                                                               William C. Miller, Esquire
                                                               Chapter 13 Standing Trustee
                                                               P.O. Box 1229
                                                               Philadelphia, PA 19105
                                                               Telephone: (215)627-1377
